                                       MISSOURI DEPARTMENT OF LABOR AND INDUSTRIAL RELATIONS                                                                ~

                                    MISSOURI CoMMissioN ON HUMAN RIGHTS
     ERIC R. GREETENs                          ANNA S. Hui                                      SARA NELL LAMPE                                 ALISA WARREN, PH.D.
          GOVERNOR                     ACTING DEPARTMENT DIRECTOR                            COMMISSION CHAIRPERSON                             EXECUTIVE DIRECTOR



Jean Morris
9212 Washington St
Kansas City, MD 64114


RE:         Jean Morris vs. CDX ENTERPRISES INC ET AL
            E-09/1 6-47250 28E-201 6-01 787C

The Missouri Commission on Human Rights (MCHR) is terminating its proceedings and issuing this notice of your right
to sue under the Missouri Human Rights Act because you have requested a notice of your right to sue.

You are hereby notified that you have the right to bring a civil action within 90 days of the date of this letter against the
respondent(s) named in the complaint. Such an action may be brought in any state circuit court in any county in which
the unlawful discriminatory practice is alleged to have occurred, either before a circuit or associate circuit judge. Not
only must any action brought in court pursuant to this right to sue authorization be filed within 90.days from the date of
this letter, any such case must also be filed no later than two years after the alleged cause occurred or your
reasonable discovery of the alleged cause.

IF YOU DO NOT FILE A CIVIL ACTION IN STATE CIRCUIT COURT RELATING TO THE MATTERS ASSERTED IN
YOUR COMPLAINT WITHIN 90 DAYS OF THE DATE OF THIS NOTICE (AND WITHIN TWO YEARS OF THE
ALLEGED CAUSE, OR THE DISCOVERY OF THE ALLEGED CAUSE, OF YOUR COMPLAINT), YOUR RIGHT TO
SUE IS LOST.

You are also notified that the Executive Director is administratively closing this case and terminating all MCHR
proceedings relating to your complaint. You may not reinstate this complaint with the MCHR or file a new complaint
with the MCHR relating to the same act or practice, but rather, if you choose to continue to pursue your complaint, you
must do so in court as described in this letter. This notice of right to sue has no effect on the suit-filing period of any
federal claims.

This notice of right to sue is being issued as required by Section 21 3.111.1, RSMo, because it has been requested in
writing 180 days after filing of the complaint. Please note that administrative processing of this complaint,
including determinations of jurisdiction, has not been completed.

In addition to the process described above, if any party is aggrieved by this decision of the MCHR, that party may
appeal the decision by filing a petition under § 536.150 of the Revised Statutes of Missouri in state circuit court. Any
such petition must be filed in the circuit court of Cole County.

Respectfully,

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Alisa Warren, Ph.D.                                                                                          April25, 2017
Executive Director                                                                                           Date

C:         additional contacts listed on next page


     3315W. TRUMAN BLvD.              111 N. 7TH STREET, SUITE 903              P.O. BOX 1300                  1410 GENEssEE, SUITE 260                  106 ARTHUR STREET
         P.O. Box 1129                 ST. LoUIs, MO 63101-2100            OzARK, MO 65721-1300                 KANsAs CITY, MO 64102                          SUITED
JEFFERSON CITY, MO 65102-1129             PHONE: 314-340-7590                                                      F~: 8,16-889-3582                 SIKESTON, MO 63801-5454
     PHONE: 573-751-3325                   FAx: 314-340-7238                                                                                             FAx: 573-472-5321
       FAx: 573-751-2905
    Missouri C’o,n,nissio,z on Human Rights is an equal opportunity employer/program. Auxiliary aides and services are available upon request to individuals will, disabilities.
                                                         TDDITTY:     1-800-735-2966 (TDD)       Relay Missouri: 711
                                                   www.labor.mo.gov/mohumanrights             E-Mail: mchr@labor.mo.gov

                                          Complaint
                        Case 4:17-cv-00606-DGK       - 1-3
                                               Document Exhibit   B
                                                           Filed 07/21/17                                                                 Page 1 of 2
                 RE:    Jean Morris vs. COX ENTERPRISES INC ET AL
                           E-09/1 6-47250 28E-201 6-01 787C


COX ENTERPRISES INC ET AL
3003 Summit BIvd, Ste 200
Atlanta, GA 30319

ATTN: Ccx Automotive, Inc. and Autotrader.com

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                              Complaint
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                                   Document Exhibit   B
                                               Filed 07/21/17       Page 2 of 2
